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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

United States Securities and Exchange Commission,
et al.
                                                      Plaintiff,
v.                                                                 Case No.:
                                                                   1:18−cv−05587
                                                                   Honorable John Z. Lee
Equitybuild, Inc., et al.
                                                      Defendant.



                            NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 8, 2019:


        MINUTE entry before the Honorable Young B. Kim: This court reports and
recommends that the Receiver's first motion for approval of the sale of certain real estate
[230] be granted in part and denied in part. Enter Memorandum Report and
Recommendation. All interested parties have until April 22, 2019, to file objections to this
report and recommendation. Failure to timely object constitutes a waiver of the right to
appeal. Mailed notice (ma,)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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